  Case 2:23-cv-02896-BRM-ESK Document 8 Filed 07/13/23 Page 1 of 1 PageID: 32




                                                      July 12, 2023



 VIA ECF AND E-MAIL (Lissette_Rodriguez@njd.uscourts.gov)
 Hon. Brian Martinotti, U.S.D.J.
 United States District Court
 District of New Jersey
 50 Walnut Street
 Newark, NJ 07102                                         ORDER
        Re:     Fernandez v. NRA Group, LLC.
                Case No.: 2:23-cv-02896-BRM-ESK

 Dear Judge Martinotti:

        This office represents the Defendant in the above-referenced matter. Please accept this
 correspondence in lieu of a more formal motion seeking a one-motion-cycle adjournment (that is,
 until August 21, 2023) of                                                            currently
 returnable on August 7, 2023.
        I am seeking this adjournment due to scheduling conflicts and motions due in other
 matters. I have reached out to Plaintiff but he has not consented to adjourning the instant Motion.




                                                      Respectfully submitted,


                                                      /s/ Cindy D. Salvo____
                                                      CINDY D. SALVO


The
 cc: request  is So Ordered.
        Jury Romero Fernandez (via electronic mail)

      /s/ Edward S. Kiel             .




Edward S. Kiel, U.S.M.J.
Date: July 13, 2023
